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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            CASE NO. 8:06CR243
                                               )
             Plaintiff,                        )
                                               )
             vs.                               )                    ORDER
                                               )
JAMARR HOLIDAY,                                )
                                               )
             Defendant.                        )

      This matter is before the Court on the Defendant's notice of appeal (Filing No. 261)

and the Defendant's motion to proceed in forma pauperis on appeal (Filing No. 262). The

Defendant also filed a prisoner account statement (Filing No. 263).

      On June 2, 2011, the Defendant was sentenced to 24 months imprisonment for

violating his supervised release.   He did not file an appeal.       In October 2011, the

Defendant filed a motion for release that was denied. On November 7, 2011, he filed a

motion for relief from Judgment, which was denied. He now seeks to appeal from the

order denying the motion for relief from Judgment.

      These matters are “frivolous” within the meaning of 28 U.S.C. § 1915(e)(2)(B)(i), and

therefore the Defendant is denied leave to proceed in forma pauperis on appeal.

      IT IS ORDERED:

      1.     The Defendant's motion for leave to proceed in forma pauperis on appeal

             (Filing No. 262) is denied; and

      2.     The Court is directed to mail a copy of this order to the Defendant at his last

             known address.

      DATED this 7th day of December, 2011.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge
